        Case 2:17-cv-00359-CBM-JC Document 52 Filed 04/11/19 Page 1 of 1 Page ID #:198

                                           UNITED STATES DISTRICT COURT
                                          CENTRAL DISTRICT OF CALIFORNIA
                                             CIVIL MINUTES - GENERAL


Case No.           CV 17-0359-CBM(JCx)                                               Date     APRIL 11, 2019


Title      MATT SALNICK v. AMERON POLE PRODUCTS, LLC.,


Present: The Honorable              CONSUELO B. MARSHALL, UNITED STATES DISTRICT JUDGE


                   YOLANDA SKIPPER                                                NOT REPORTED
                           Deputy Clerk                                             Court Reporter


                 Attorneys Present for Plaintiffs:                      Attorneys Present for Defendants:
                             None Present                                          None Present


Proceedings:           IN CHAMBERS-ORDER AND NOTICE TO ALL PARTIES


         Counsel are hereby notified that a joint status report must be filed by the parties to this action
         no later than MAY 10, 2019.

         IT IS SO ORDERED.



         cc: all parties




         CV-90                                       CIVIL MINUTES - GENERAL              Initials of Deputy Clerk ys
